881 F.2d 1069Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronnie LONG, Plaintiff-Appellant,v.Gary T. DIXON, Warden, L.V. Stephenson, Superintendent ofHarnett, Willis Adcock, Disciplinary Committee,Charles Bohamon, Disciplinary Committee,Defendants-Appellees.
    No. 89-7535.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 16, 1989.Decided July 25, 1989.
    
      Ronnie Long, appellant pro se.
      Before PHILLIPS, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronnie Long appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Long v. Dixon, C/A No. 89-16-CRT (E.D.N.C. Feb. 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    